






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00311-CV






Lisa Navarro, Appellant


v.


Linda Hernandez, Appellee






FROM THE PROBATE COURT NO. 1 OF TRAVIS COUNTY

NO. C-1-PB-10-000081, HONORABLE GUY HERMAN, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant Lisa Navarro filed a notice of appeal in the trial court in May 2012.  On
September 17, 2012, the Clerk of this Court sent a request to Navarro, notifying her that the clerk's
record was overdue.  The Clerk requested that Navarro make arrangements for the record and submit
a status report regarding this matter by September 27, 2012.  The Clerk also notified Navarro that
her appeal would be dismissed for want of prosecution if she did not respond to this Court by that
date.  Navarro has not responded to this Court's notice.  Accordingly, we dismiss the appeal for want
of prosecution.  See Tex. R. App. P. 42.3(b), (c).



						__________________________________________

						Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed for Want of Prosecution

Filed:   November 2, 2012


